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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

                        Case No.: 6:22-cv-00073-RBD-LRH


    ASHLEY FRANCIS,

           Plaintiff,

    v.

    ACCOUNT RESOLUTION
    SERVICES, LLC,


            Defendant.
    ________________________________/

    DEFENDANT, ACCOUNT RESOLUTION SERVICES, LLC.’S1 FIRST
       AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO
                   PLAINTIFF’S COMPLAINT

         COMES NOW, Defendant, ACCOUNT RESOLUTION SERVICES,

LLC.’S (“ARS”), and files its Answer and Affirmative Defenses to the

Complaint in the above-entitled matter, denies each and every allegation in

the Complaint [DE 1], unless otherwise admitted or qualified in this Answer,

and states and alleges as follows:




1
 The correct legal name of the Defendant is Healthcare Revenue Recovery Service
Group, LLC d/b/a ARS Account Resolution Services.
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                         NATURE OF THE ACTION

      1.    Admitted for       purposes       of   personal   and federal   question

jurisdiction, venue, and claims identification only; otherwise denied. It is

denied at this time as to whether Plaintiff has asserted sufficient facts to

support Article III jurisdiction.

                       JURISDICTION AND VENUE

      2.    Admitted for purposes of personal jurisdiction, venue, and claims

identification only; otherwise denied.

      3.    Admitted for purposes of venue only; otherwise denied.

                                    PARTIES

      4.    Admitted for purposes of jurisdiction and venue only; otherwise

denied.

      5.    Denied as stated. Admitted to the extent that Defendant is a

Florida limited liability company and maintains its principal place of business

within the State of Florida.

                                ALLEGATIONS

      6.    Admitted to the extent that Defendant ARS was retained to seek

repayment of a past due debt obligation from the Plaintiff. Otherwise, denied.

      7.    Unknown at this time; therefore denied.

      8.    Unknown at this time; therefore denied.

      9.    Unknown at this time; therefore denied.

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      10.   Unknown at this time; therefore denied.

      11.   Unknown at this time; therefore denied.

      12.   Admitted.

      13.   Denied. Defendant demands strict proof thereof.

      14.   Denied. Defendant demands strict proof thereof.

      15.   Denied. Defendant demands strict proof thereof.

                                 Count I: FDCPA

      16.   ARS incorporates by reference all of its answers to the above

paragraphs of the Complaint as though fully stated herein.

      17.   Admitted to the extent that ARS is considered a “data furnisher”

as that term is defined under the FCRA and reports to credit reporting

agencies, on behalf of its creditor clients, and a “debt collector” as that term is

defined under the FDCPA and was retained to collect the past due debt

obligations, otherwise denied.

      18.   Admitted.

      19.   Admitted to the extent that ARS is considered a “data furnisher”

as that term is defined under the FCRA and reports to credit reporting

agencies, on behalf of its creditor clients, and a “debt collector” as that term is

defined under the FDCPA and was retained to collect the past due debt

obligations, otherwise denied.

      20.   Denied; Defendant demands strict proof thereof.

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      21.    Denied; Defendant demands strict proof thereof.

      22.    Denied; Defendant demands strict proof thereof.

      23.    Denied; Defendant demands strict proof thereof.

                                Jury Demand

      24.    Defendant hereby demands a jury trial.

                        AFFIRMATIVE DEFENSES

FIRST AFFIRMATIVE DEFENSE

      The Plaintiff failed to state a claim upon which relief can be granted.

Therefore, Plaintiff’s claims should be dismissed pursuant to Rule 12(b)(6) Fed.

R. Civ. P.

SECOND AFFIRMATIVE DEFENSE

      Plaintiff’s claims are barred in whole or in part by the applicable statutes

of limitations.

THIRD AFFIRMATIVE DEFENSE

      Any violation of the law or damage suffered by Plaintiff, which ARS

denies, was due to the affirmative actions and/or omissions of Plaintiff or

others and does not give rise to any liability against ARS.

FOURTH AFFIRMATIVE DEFENSE

      While ARS denies that Plaintiff has been damaged in any way, if it

should be determined that Plaintiff has been damaged, then ARS alleges such



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damage was not caused by ARS but was proximately caused or contributed to

by the conduct of others for whom ARS is not responsible or liable.

FIFTH AFFIRMATIVE DEFENSE

      Plaintiff’s claims for relief are barred in whole or in part because ARS at

all times acted in a reasonable manner and in good faith.

SIXTH AFFIRMATIVE DEFENSE

      To the extent Plaintiff has been damaged, which ARS specifically denies,

Plaintiff has failed to mitigate those damages and therefore should not be able

to recover any unmitigated damages from ARS.

SEVENTH AFFIRMATIVE DEFENSE

      Plaintiff is not entitled to recover any damages, or any recovery awarded

should be reduced by the amount of damages which reasonably could have been

avoided, because Plaintiff failed to take reasonable steps to mitigate her

damages with respect to the matters alleged in the Complaint.

EIGHTH AFFIRMATIVE DEFENSE

      Defendant affirmatively alleges that the alleged actions of Defendant

and its agents and employees are protected by the “bona fide error” defense

pursuant to the Fair Debt Collection Practices Act, Sections 1692e(8) since

such actions or inactions, if they occurred, were not intentional and resulted

from a bona fide error notwithstanding the Defendant’s maintenance of

procedures reasonably adapted to avoid such error.

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NINTH AFFIRMATIVE DEFENSE

      Defendant asserts that Plaintiff lacks sufficient injury harm or concrete

harm to maintain Article III standing.

      WHEREFORE, Defendant, ACCOUNT RESOLUTION SERVICES,

LLC prays for an order and judgment of this Court in its favor against Plaintiff

as follows:

      1.      dismissing all alleged causes of action against ARS with prejudice

              and on the merits; and

      2.      Award ARS such other and further relief as the Court deems just

              and equitable, including its fees and reasonable costs in defending

              against this action.

   Dated this 2nd day of June 2022.


                                             Respectfully submitted,

                                             /s/ Ernest H. Kohlmyer, III
                                             Ernest H. Kohlmyer, III




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                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed on June 2, 2022, via the Clerk of Court’s CM/ECF system which will

provide electronic notice to the attorneys of record: Daniel Brennan, Esquire

at daniel@crlam.com (Attorney for Plaintiff).


                          /s/ Ernest H. Kohlmyer, III
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